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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MASSACHUSETTS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Athol Memorial Hospital NMTC Holdings, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2033 Main Street
                                  Athol, MA 01331
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Worcester                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.atholhospital.org


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Athol Memorial Hospital NMTC Holdings, Inc.                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6211

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Athol Memorial Hospital NMTC Holdings, Inc.                                                     Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See attached Rider 1.                                         Relationship

                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



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Debtor   Athol Memorial Hospital NMTC Holdings, Inc.                                  Case number (if known)
         Name


16. Estimated liabilities     $0 - $50,000                               $1,000,001 - $10 million              $500,000,001 - $1 billion
                              $50,001 - $100,000                         $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million           More than $50 billion




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                                  UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF MASSACHUSETTS
                                          CENTRAL DIVISION

      In re:                                            )         Chapter 11
                                                        )
      ATHOL MEMORIAL                HOSPITAL       NMTC )         Case No.
      HOLDINGS, INC.,                                   )
                                                        )         Honorable
                                                        )
                              Debtor.                   )

                                                  Rider 1
                   Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

                On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
        petition in the United States Bankruptcy Court for the District of Massachusetts for relief under
        chapter 11 of the title 11 of the United States Code. The Debtors have moved for joint
        administration of these cases under the case number assigned to the chapter 11 case of Heywood
        Healthcare, Inc.

                     1.   Heywood Healthcare, Inc.
                     2.   The Henry Heywood Memorial Hospital
                     3.   Athol Memorial Hospital
                     4.   Heywood Medical Group, Inc.
                     5.   Athol Memorial Hospital NMTC Holdings, Inc.
                     6.   Quabbin Healthcare, Inc.
                     7.   Heywood Realty Corporation




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                                UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF MASSACHUSETTS
                                        CENTRAL DIVISION

      In re:                                         )        Chapter 11
                                                     )
      ATHOL MEMORIAL              HOSPITAL      NMTC )        Case No.
      HOLDINGS, INC.,                                )
                                                     )        Honorable
                                                     )
                            Debtor.                  )


                                LIST OF EQUITY SECURITY HOLDERS

        Athol Memorial Hospital NMTC Holdings, Inc. is a Massachusetts non-profit charitable

        organization. The sole member of Athol Memorial Hospital NMTC Holdings, Inc. is Heywood

        Healthcare, Inc. Consequently, there are no shareholders or equity holders in the for-profit

        corporate sense.




4867-3319-1289.1
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                                    UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MASSACHUSETTS
                                            CENTRAL DIVISION

      In re:                                                   )      Chapter 11
                                                               )
      ATHOL MEMORIAL HOSPITAL NMTC                             )      Case No.
      HOLDINGS, INC.,                                          )
                                                               )      Honorable
                                                               )
                               Debtor.                         )


                                    CORPORATE OWNERSHIP STATEMENT

               Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
        following are corporations, other than a government unit, that directly or indirectly own 10% or
        more of any class of the debtor’s equity interest:

                   Athol Memorial Hospital NMTC Holdings, Inc. is a Massachusetts not-for-profit
                   corporation. The sole member of Athol Memorial Hospital NMTC Holdings, Inc.
                   is Heywood Healthcare, Inc., a Massachusetts not-for-profit corporation. As a
                   consequence, there are no shareholders or equity holders in the for-profit corporate
                   sense.




4875-6681-0745.2
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Fill in this information to identify the case:
Debtor name Heywood Healthcare, Inc., et al.
United States Bankruptcy Court for the: DISTRICT OF MASSACHUSETTS                                                                          Check if this is an

Case number (if known):                                                                                                                    amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and
Are Not Insiders (on a Consolidated Basis)                                                 12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number and email           Nature of claim       Indicate if   Amount of claim
complete mailing address, address of creditor contact                (for example,          claim is     If the claim is fully unsecured, fill in only unsecured claim
including zip code                                                   trade debts, bank    contingent,    amount. If claim is partially secured, fill in total claim amount and
                                                                     loans,              unliquidated    deduction for value of collateral or setoff to calculate unsecured
                                                                     professional        , or disputed   claim.
                                                                     services, and                       Total claim, if Deduction for value             Unsecured claim
                                                                     government                          partially            of collateral or setoff
                                                                     contracts)                          secured
COMMONWEALTH OF          ALICIA SCAHILL                              ADVANCE                                                                                  $6,000,000.00
MASS                     617‐573‐1600
19 STANIFORD STREET      ALICIA.R.SCAHILL@MASS.GOV
1ST FLOOR
BOSTON, MA 02114‐2502
HEYWOOD GREEN STREET     WILLIAM LANGLOIS                            LEASE               DISPUTED                                                             $2,945,097.00
LLC                      781‐675‐2051
250 1ST AVENUE           WLANGLOIS@WATERSTONEPG.COM
SUITE 202
NEEDHAM, MA 02494
STRYKER ORTHOPEDICS      SAMANTHA ROJAS,                             TRADE VENDOR                                                                             $2,339,337.44
P.O. BOX 93213           800‐733‐2383 OPT. 4
CHICAGO, IL 60673        SAMANTHA.ROJAS@STRYKER.COM

MEDEFIS INC              NICOLE MCNALLY                              TRADE VENDOR                                                                             $1,181,675.69
2121 NORTH 117TH AVE     214‐416‐3416
SUITE 200                NICOLE.MCNALLY@MEDEFIS.COM
OMAHA, NE 68164
CARDINAL HEALTH          GAURAV SHARMA                               TRADE VENDOR                                                                             $1,151,787.67
PHARMACEUTICAL DIST      1‐866‐739‐4754
11 CENTENNIAL DRIVE      EX. : 200238348
PEABODY, MA 01960        GAURAV.SHARMA06@CARDINALHEALTH.
                         COM


LABCORP OF AMERICA       SALLY GIBBS                                 TRADE VENDOR                                                                             $1,099,500.44
HOLDINGS                 888‐294‐7614 X5491
P.O. BOX 12140           GIBBSS@LABCORP.COM
BURLINGTON, NC 27216
MEDLINE INDUSTRIES       CINDY TROJAN                                TRADE VENDOR                                                                               $627,803.17
1 MEDLINE PLACE          847‐643‐4973
MUNDELEIN, IL 60060      CTROJAN@MEDLINE.COM
TMX HEALTHCARE           TRACY SHERIDAN CZERWONKY                    TRADE VENDOR                                                                               $519,527.53
TECHNOLOGIES LLC         317‐715‐0525
5451 LAKEVIEW PKWY S     TRACY.SHERIDANCZERWONKY@TRIMEDX.COM
DR.
INDIANAPOLIS, IN 46268


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Debtor     Heywood Healthcare, Inc., et al.                                                        Case number (if known)
           Name

Name of creditor and      Name, telephone number and email            Nature of claim       Indicate if   Amount of claim
complete mailing address, address of creditor contact                 (for example,          claim is     If the claim is fully unsecured, fill in only unsecured claim
including zip code                                                    trade debts, bank    contingent,    amount. If claim is partially secured, fill in total claim amount and
                                                                      loans,              unliquidated    deduction for value of collateral or setoff to calculate unsecured
                                                                      professional        , or disputed   claim.
                                                                      services, and                       Total claim, if Deduction for value             Unsecured claim
                                                                      government                          partially            of collateral or setoff
                                                                      contracts)                          secured
B.E. SMITH LLC              KIM POOLE                                 TRADE VENDOR                                                                               $496,051.54
PO BOX 74007636             469‐706‐1830
CHICAGO, IL 60674           KIM.POOLE@AMNHEALTHCARE.COM
NATIONAL GRID               JIM MAY                                   TRADE VENDOR                                                                               $465,653.85
PO BOX 371396               774‐239‐4945
PITTSBURGH, PA 15250        JAMES.MAYII@NATIONALGRID.COM
QUARTULLI & ASSOCIATES      CHARLENE COSTA                            TRADE VENDOR                                                                               $457,215.12
INC.                        508‐839‐5806
P O BOX 423                 CCOSTA1@VERIZON.NET
GARDNER, MA 01440
CLEARWAY HEALTH, LLC        NATALIE MEITZNER                          TRADE VENDOR                                                                               $343,257.42
PO BOX 845018               316‐213‐6882
BOSTON, MA 02284            NATALIE.MEITZNER@BMC.ORG

HOLOGIC INC                 JOSSELINE GARCIA B.                       TRADE VENDOR                                                                               $306,507.50
10210 GENETIC DRIVE         800‐442‐9892 OPT. 4
SAN DIEGO, CA 92121         JOSSELINE.GARCIA@HOLOGIC.COM

NUANCE                      GEANA LUXMORE                             TRADE VENDOR                                                                               $301,258.94
COMMUNICATIONS INC          857‐214‐6583
ONE WAYSIDE ROAD            GEANA.LUXMORE@NUANCE.COM
BURLINGGTON, MA 01803
ALLIANCE HEALTHCARE         DALENE ARMAS                              TRADE VENDOR                                                                               $299,225.54
SERVICES                    949‐242‐5342
18201 VON KARMAN AVE        DALENE.ARMAS@AKUMIN.COM
SUITE 600
IRVINE, CA 92612
MEDICAL INFORMATION         BRI IRVINE                                TRADE VENDOR                                                                               $297,820.00
TECHNOLOGY INC.             781‐774‐4539
7 BLUE HILL RIVER ROAD      BIRVINE@MEDITECH.COM
CANTON, MA 02021
DIVERSIFIED CLINICAL        JENNIFER HAIREL                           TRADE VENDOR                                                                               $282,484.27
SERVICES INC                904‐446‐3440
28525 NETWORK PLACE         JENNIFER.HAIREL@HEALOGICS.COM
CHICAGO, IL 60673
ENGIE RESOURCES LLC         LISSETTE VEGA                             TRADE VENDOR                                                                               $253,694.85
1360 POST OAK BLVD          866‐MYENGIE
SUITE 400                   LISETTE.VEGA@ENGIE.COM
HOUSTON, TX 77056
E‐MANAGEMENT                DANA WALKER                    TRADE VENDOR                                                                                          $215,934.58
ASSOCIATES, LLC             800‐816‐6053
PO BOX 473                  DANA@EMANAGEMENTASSOCIATES.COM
AMHERST, NH 03031
PARK PLACE                  ANDREA HASSO                              TRADE VENDOR                                                                               $203,213.45
INTERNATIONAL LLC           440‐424‐5920
8401 CHAGRIN ROAD           AHASSO@GOCLOUDWAVE.COM
CHAGRIN FALLS, OH 44023
WATERSTONE                  WILLIAM LANGLOIS                          LEASES                                                                                     $190,554.53
PETERSHAM MEDICAL           781‐675‐2051
250 FIRST AVE., SUITE 202   WLANGLOIS@WATERSTONEPG.COM
NEEDHAM, MA 02494




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Debtor     Heywood Healthcare, Inc., et al.                                                       Case number (if known)
           Name

Name of creditor and      Name, telephone number and email           Nature of claim       Indicate if   Amount of claim
complete mailing address, address of creditor contact                (for example,          claim is     If the claim is fully unsecured, fill in only unsecured claim
including zip code                                                   trade debts, bank    contingent,    amount. If claim is partially secured, fill in total claim amount and
                                                                     loans,              unliquidated    deduction for value of collateral or setoff to calculate unsecured
                                                                     professional        , or disputed   claim.
                                                                     services, and                       Total claim, if Deduction for value             Unsecured claim
                                                                     government                          partially            of collateral or setoff
                                                                     contracts)                          secured
CHANGE HEALTHCARE          ANDY MCKEITHAN‐BOLDING                    TRADE VENDOR                                                                               $176,496.59
SOLUTIONS, LLC             404‐338‐4622
3055 LEBANON PIKE,         ANDY.MCKEITHAN‐BOLDING@CHANGEHEALTHC
STE. 1000                  ARE.COM
NASHVILLE, TN 37214
LOGIXHEALTH                KIMBERLEE GIRARD                          TRADE VENDOR                                                                               $168,162.56
8 OAK PARK DRIVE           781‐280‐1558
BEDFORD, MA 01730          KGIRARD@LOGIXHEALTH.COM
SYMETRA LIFE INSURANCE     ANNE F. NEWTON                            TRADE VENDOR                                                                               $166,486.32
COMPANY                    617‐565‐8311
777 108TH AVE NE, # 1200   ANNE.NEWTON@SYMETRA.COM
BELLEVUE, WA 98004
ROCHE DIAGNOSTICS          BRANDON ALLEN                             TRADE VENDOR                                                                               $166,379.71
CORPORATION                317‐263‐4734
9115 HAGUE RD.             BRANDON.ALLEN@ROCHE.COM
PO BOX 50100
INDIANAPOLIS, IN 46250
BOSTON SCIENTIFIC CORP     EMILIA BRAZA                              TRADE VENDOR                                                                               $165,482.02
500 COMMANDER SHEAL        508‐683‐4129
BLVD.                      EMILIA.BRAZA@BSCI.COM
N. QUINCY, MA 02171
ZIMMER US, INC.            CHAD PHIPPS                               TRADE VENDOR                                                                               $158,511.01
56 EAST MAIN STREET        574‐267‐6131
WARSAW, IN 46580           CHAD.PHIPPS@ZIMMERBIOMET.COM

MASS HOSPITAL              DAVID SACCO                               ORGANIZATIONAL                                                                             $158,246.00
ASSOCIATION                781‐262‐6046                              MEMBERSHIP
500 DISTRICT AVE.          DSACCO@MHALINK.ORG
BURLINGTON, MA 01802
ESOTERIX GENETIC           SANDRA VAN DER VAART                      TRADE VENDOR                                                                               $127,266.83
LABORATORIES LLC           800‐343‐4407
PO BOX 12140               VAARTS@LABCORP.COM
BURLINGTON, NC 27216
CENTURY LINEN EAST LLC     TAMI ALLEN                                TRADE VENDOR                                                                               $126,920.16
335 N. MAIN ST.            315-569-5598
GLOVERSVILLE, NY 12078     TALLEN@CENTURYLINEN.COM




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    Athol Memorial Hospital NMTC Holdings, Inc.




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                                                OFFICIAL FORM 7

                                        United States Bankruptcy Court
                                               District of Massachusetts
 In re   Heywood Healthcare, Inc.                                                 Case No.
                                                          Dcbtor(s)               Chapter    11



                                     DECLARATION RE: ELECTRONIC FILING

PART I- DECLARATION OF PETITIONER

         I Thomas Sullivan, hereby declare(s) under penalty of perjury that all of the information
contained in my-    the foregoing voluntary petition and related documents
                      ---------------------                                          -----------­
(singly or jointly the "Document"), filed electronically, is true and correct. I understand that this DECLARATION is
to be filed with the Clerk of Court electronically concurrently with the electronic filing of the Document. I
understand that failure to file this DECLARATION may cause the Document to be struck and any request
contained or relying thereon to be denied, without further notice.

        I further understand that pursuant to the Massachusetts Electronic Filing Local Rule (MEFLR)-7(a) all
paper documents containing original signatures executed under the penalties of perjury and filed electronically
with the Court are the property of the bankruptcy estate and shall be   intained by the authorized CM/ECF
Registered User for a period of five (5) years after the closing of t

Dated: 10/01/2023
                                              Signed:




PART II - DECLARATION OF ATTORNEY (IF AFFIANT IS REPRESENTED BY COUNSEL)

        I certify that the affiant(s) signed this form before I submitted the Document, I gave the affiant(s) a copy of
the Document and this DECLARATION, and I have followed all other electronic filing requirements currently
established by local rule and standing order. This DECLARATION is based on all information of which I have
knowledge and my signature below constitutes my certification of the foregoing under Fed. R. Bankr. P. 9011.
have reviewed and will comply with the provisions of

Dated: 10/01/2023
                                    Signed:
                                                        John . Flick (MA Bar No. 652169)
                                                            FLICK LAW GROUP, P.C.
                                                           144 Central Street, Unit 201
                                                                 Gardner, MA 01440
                                                                    978-632-7948
                                                             jflick@flicklawgroup.com
                                                                 Attorney for Affiant
